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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   GOVERNMENT’S RESPONSE TO THE
                                        )   DEFENDANT’S “MANDATORY
    vs.                                 )   JUDICIAL NOTICE;” CERTIFICATE
                                        )   OF SERVICE
ANTHONY T. WILLIAMS (1),                )
                                        )
          Defendant.                    )
                                        )
                                        )

                   GOVERNMENT’S RESPONSE TO THE
              DEFENDANT’S “MANDATORY JUDICIAL NOTICE”

      The government respectfully submits this brief in response to Defendant

Anthony T. Williams’s “Mandatory Judicial Notice” (Motion). ECF No. 639-2.

The Motion represents the defendant’s sixth request to the Court to take judicial
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notice of certain facts. See ECF Nos. 176, 178, 221, 271, and 498. The Court has

denied the defendant’s five previous requests. ECF Nos. 336, 227, 547. The

Motion should be denied because the matters of which the defendant seeks judicial

notice are properly for the jury to decide at trial.

      Courts may judicially notice facts that are not subject to reasonable dispute.

Fed. R. Evid. 201(b). A fact is not subject to reasonable dispute if “it is either

generally known within the trial court’s territorial jurisdiction” or “can be

accurately and readily determined from sources whose accuracy cannot reasonably

be questioned.” Id. “[A] high degree of indisputability is the essential prerequisite

to taking judicial notice of adjudicative facts.” Rivera v. Philip Morris, Inc., 395

F.3d 1142, 1151 (9th Cir. 2005). “Because the effect of judicial notice is to

deprive a party of an opportunity to use rebuttal evidence, cross-examination, and

argument to attach contrary evidence, caution must be used in determining that a

fact is beyond controversy under Rule 201(b).” Id. (quoting Wright v. Brooke Grp.,

114 F.Supp. 797, 816 (N.D. Iowa 2000)).

      The Motion asks this Court to take judicial notice of eight (8) propositions.

The defendant has previously asked this Court to take judicial notice of

propositions similar to three of these eight propositions in the Motion:

          • Compare Motion Exh. A at 2 ¶1 (“No clients or
            consumers . . . ever made a complaint against Private
            Attorney General (PAG) Anthony Williams. . .”), with
            Sworn Motion Establishing Undisputed Facts and Request
                                            2
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             for Judicial Notice Exh. A (First Mot. Judicial Notice),
             ECF No. 176-2 at 28 ¶ 275 (“The U.S. Attorney failed to
             mention in the indictment that none of the homeowners
             referred to . . . made a complaint against the Affiant . . .”);

         • Compare Motion Exh. A at 2 ¶ 3 (“No other FBI office in
           all the other states prosecuted the business of PAG
           Anthony Williams . . .”), with Second Request for
           Mandatory Judicial Notice Exh. A at 1 ¶1, ECF No. 178
           (“No charges ever filed against the undersigned nor his
           companies . . . .”);

         • Compare Motion Exh. A at 2 ¶4 (“PAG Anthony
           Williams is in fact recognized as a Private Attorney
           General by the FBI, US Marshals, TSA and Honolulu Fire
           Department.”), with First Mot. Judicial Notice Exh. A at
           31 ¶ 300 (“Affiant is a Private Attorney General with his
           own Private Attorney General ID that has been recognized
           and accepted by the FBI, U.S. Marshals Service and
           TSA.”).

      The Court has denied each of these requests for judicial notice. Order

Denying Defendant’s: [176] Sworn Motion Establishing Undisputed Facts and

Request for Judicial Notice; [178] Second Request for Mandatory Judicial Notice;

and [221] Third Request for Mandatory Judicial Notice 3 (Judicial Notice Order),

ECF No. 336.

      None of the eight propositions in the Motion are proper subjects of judicial

notice. For instance, the defendant asks that the Court take judicial notice of the

fact that “he has not violated the rights of anyone which would constitute a crime.”

Motion Exh. A at 2, ECF No. 639-2. Similarly, the defendant makes broad

characterizations of the nature or purpose of the government and the FBI. See,
                                           3
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e.g., Motion Exh. A at 3, ECF No. 639-2 (“The FBI is a racist organization . . . ;”

“The Government has one stated purpose and that is the protection of individual

rights.”). Here, the “[d]efendant is attempting to get the Court to accept as true and

undisputed Defendant’s version of facts, which is inappropriate for judicial

notice.” Judicial Notice Order 3, ECF No. 336.

      Finally, the remaining proposition, “[t]he US Attorneys nor any judges in

Hawaii have an oath of office filed,” Motion Exh. A at 3, and its very premise, are

disputed and are unsuitable for judicial notice. See, e.g., Order Denying Motion to

Disqualify Ronald G. Johnson and Gregg Paris Yates for Not Having An Oath Of

Office Filed And For Not Having A Valid License To Practice Law, ECF No. 525

(“The Defendant’s arguments are baseless—Mr. Yates is appropriately qualified to

represent the Government in this matter.”)

                                  CONCLUSION

      The government respectfully requests that the Court deny the Motion.

                   DATED: November 29, 2019, at Honolulu, Hawaii.


                                               KENJI M. PRICE
                                               United States Attorney
                                               District of Hawaii


                                               By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney


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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

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      Attorney for Defendant
      ANTHONY T. WILLIAMS

Defendant to be served by First Class Mail:

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      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: November 29, 2019, at Honolulu, Hawaii.


                                              /s/ Melena Malunao
                                              U.S. Attorney’s Office
                                              District of Hawaii
